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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief ForViolations
13                                               Of: Americans With Disabilities
       Sweetgreen LA, LLC, a Delaware            Act; Unruh Civil Rights Act
14
       Limited Liability Company
15
                 Defendants.
16
17
           Plaintiff Scott Johnson complains of Sweetgreen LA, LLC, a Delaware
18
     Limited Liability Company; and alleges as follows:
19
20
21     PARTIES:
22     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
23   level C-5 quadriplegic. He cannot walk and also has significant manual
24   dexterity impairments. He uses a wheelchair for mobility and has a specially
25   equipped van.
26     2. Defendant Sweetgreen LA, LLC owned Sweetgreen located at or about
27   300 W. El Camino Real, Sunnyvale, California, between October 2020 and
28   February 2021.


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1      3. Defendant Sweetgreen LA, LLC owns Sweetgreen (“Restaurant”)
2    located at or about 300 W. El Camino Real, Sunnyvale, California, currently.
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the Restaurant in October 2020 with the intention to
27   avail himself of its goods or services motivated in part to determine if the
28   defendants comply with the disability access laws. Not only did Plaintiff


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1    personally encounter the unlawful barriers in October 2020, but he wanted to
2    return and patronize the business several times but was specifically deterred
3    due to his actual personal knowledge of the barriers gleaned from his
4    encounter with them.
5      9. The Restaurant is a facility open to the public, a place of public
6    accommodation, and a business establishment.
7      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
8    to provide wheelchair accessible dining surfaces in conformance with the ADA
9    Standards as it relates to wheelchair users like the plaintiff.
10     11. The Restaurant provides dining surfaces to its customers but fails to
11   provide wheelchair accessible dining surfaces.
12     12. One problem that plaintiff encountered is the lack of sufficient knee or
13   toe clearance under the outside dining surfaces for wheelchair users.
14     13. Plaintiff believes that there are other features of the dining surfaces that
15   likely fail to comply with the ADA Standards and seeks to have fully compliant
16   dining surfaces available for wheelchair users.
17     14. On information and belief the defendants currently fail to provide
18   wheelchair accessible dining surfaces.
19     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20   personally encountered these barriers.
21     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
22   wheelchair accessible facilities. By failing to provide accessible facilities, the
23   defendants denied the plaintiff full and equal access.
24     17. The failure to provide accessible facilities created difficulty and
25   discomfort for the Plaintiff.
26     18. The defendants have failed to maintain in working and useable
27   conditions those features required to provide ready access to persons with
28   disabilities.


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1      19. The barriers identified above are easily removed without much
2    difficulty or expense. They are the types of barriers identified by the
3    Department of Justice as presumably readily achievable to remove and, in fact,
4    these barriers are readily achievable to remove. Moreover, there are numerous
5    alternative accommodations that could be made to provide a greater level of
6    access if complete removal were not achievable.
7      20. Plaintiff will return to the Restaurant to avail himself of its goods or
8    services and to determine compliance with the disability access laws once it is
9    represented to him that the Restaurant and its facilities are accessible. Plaintiff
10   is currently deterred from doing so because of his knowledge of the existing
11   barriers and his uncertainty about the existence of yet other barriers on the
12   site. If the barriers are not removed, the plaintiff will face unlawful and
13   discriminatory barriers again.
14     21. Given the obvious and blatant nature of the barriers and violations
15   alleged herein, the plaintiff alleges, on information and belief, that there are
16   other violations and barriers on the site that relate to his disability. Plaintiff will
17   amend the complaint, to provide proper notice regarding the scope of this
18   lawsuit, once he conducts a site inspection. However, please be on notice that
19   the plaintiff seeks to have all barriers related to his disability remedied. See
20   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
21   encounters one barrier at a site, he can sue to have all barriers that relate to his
22   disability removed regardless of whether he personally encountered them).
23
24   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
25   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
26   Defendants.) (42 U.S.C. section 12101, et seq.)
27     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
28   again herein, the allegations contained in all prior paragraphs of this


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1    complaint.
2      23. Under the ADA, it is an act of discrimination to fail to ensure that the
3    privileges, advantages, accommodations, facilities, goods and services of any
4    place of public accommodation is offered on a full and equal basis by anyone
5    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
6    § 12182(a). Discrimination is defined, inter alia, as follows:
7             a. A failure to make reasonable modifications in policies, practices,
8                 or procedures, when such modifications are necessary to afford
9                 goods,    services,    facilities,   privileges,    advantages,   or
10                accommodations to individuals with disabilities, unless the
11                accommodation would work a fundamental alteration of those
12                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
13            b. A failure to remove architectural barriers where such removal is
14                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
15                defined by reference to the ADA Standards.
16            c. A failure to make alterations in such a manner that, to the
17                maximum extent feasible, the altered portions of the facility are
18                readily accessible to and usable by individuals with disabilities,
19                including individuals who use wheelchairs or to ensure that, to the
20                maximum extent feasible, the path of travel to the altered area and
21                the bathrooms, telephones, and drinking fountains serving the
22                altered area, are readily accessible to and usable by individuals
23                with disabilities. 42 U.S.C. § 12183(a)(2).
24     24. When a business provides facilities such as dining surfaces, it must
25   provide accessible dining surfaces.
26     25. Here, accessible dining surfaces have not been provided in
27   conformance with the ADA Standards.
28     26. The Safe Harbor provisions of the 2010 Standards are not applicable


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1    here because the conditions challenged in this lawsuit do not comply with the
2    1991 Standards.
3       27. A public accommodation must maintain in operable working condition
4    those features of its facilities and equipment that are required to be readily
5    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
6       28. Here, the failure to ensure that the accessible facilities were available
7    and ready to be used by the plaintiff is a violation of the law.
8
9    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
10   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
11   Code § 51-53.)
12      29. Plaintiff repleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
15   that persons with disabilities are entitled to full and equal accommodations,
16   advantages, facilities, privileges, or services in all business establishment of
17   every kind whatsoever within the jurisdiction of the State of California. Cal.
18   Civ. Code §51(b).
19      30. The Unruh Act provides that a violation of the ADA is a violation of the
20   Unruh Act. Cal. Civ. Code, § 51(f).
21      31. Defendants’ acts and omissions, as herein alleged, have violated the
22   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
23   rights to full and equal use of the accommodations, advantages, facilities,
24   privileges, or services offered.
25      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
26   discomfort or embarrassment for the plaintiff, the defendants are also each
27   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
28   (c).)


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1      33. Although the plaintiff encountered frustration and difficulty by facing
2    discriminatory barriers, even manifesting itself with minor and fleeting
3    physical symptoms, the plaintiff does not value this very modest physical
4    personal injury greater than the amount of the statutory damages.
5
6           PRAYER:
7           Wherefore, Plaintiff prays that this Court award damages and provide
8    relief as follows:
9        1. For injunctive relief, compelling Defendants to comply with the
10   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
11   plaintiff is not invoking section 55 of the California Civil Code and is not
12   seeking injunctive relief under the Disabled Persons Act at all.
13       2. For equitable nominal damages for violation of the ADA. See
14   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
15   and any other equitable relief the Court sees fit to grant.
16       3. Damages under the Unruh Civil Rights Act, which provides for actual
17   damages and a statutory minimum of $4,000 for each offense.
18       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
20
21   Dated: March 23, 2021             CENTER FOR DISABILITY ACCESS
22
23
                                       By: _______________________
24
                                             Amanda Seabock, Esq.
25                                           Attorney for plaintiff
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27
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